Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 1 of 22 PageID 150




                IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION
   JOSEPHINE LOGIUDICE, individually
   and on behalf of others similarly situated,

                          Plaintiff,                     Case No. 517-cv-0433-Oc-4OPRL
   V.


   INTELEMEDIA COMMUNICATIONS,
   INC., INTELEMEDIA PREMIER LEADS,
   LLC, and DOES 1 —25,

                          Defendants.


          DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
    FIRST AMENDED CLASS ACTION COMPLAINT AND JURY DEMAND

                                          INTRODUCTION

          I.      Plaintiff Josephine Logiudice (“Plaintiff’) brings this Class Action

   Complaint for damages, injunctive relief, and any other available legal or equitable

   remedies, resulting from Defendants Intelemedia Communications, Inc.’s (“Intelemedia”)

   and Intelemedia Premiere Leads LLC’s (“IPL”) (collectively, “Defendants”) practice of

   placing prerecorded telemarketing telephone calls to telephones without prior express

   written consent in violation of the Telephone Consumer Protection Act. 47 U.S.C.   §   227

   et seq.. (“TCPA”).

         ANSWER:        Defendants admit that Plaintiff has brought this Class Action

   Complaint.   To the extent this allegation contains legal conclusions, no response is

   required. Defendants deny the remaining allegations of this paragraph.
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 2 of 22 PageID 151




                                      JURISDICTION AND VENUE

          2.         This Court has subject matter jurisdiction under 28 U.S.C.     § 1331, as this
   action arises under the TCPA, which is a federal statute.            This   Court has personal
   jurisdiction over Defendants because the behavior giving rise to the instant litigation was

   targeted at this District.

          ANSWER:            Defendants admit that this action is brought under the TCPA.

   Defendants deny the remaining allegations of this paragraph.

          3.         Venue is proper in this District under 28 U.S.C.          § 1391(b) because
   Defendants conduct significant amounts of business transactions within this District and

   because the wrongful conduct giving rise to this case occurred in, was directed to, and/or

   emanated from this District.

          ANSWER:         Defendants admit the venue is proper in this district and deny the

   remaining allegations of this paragraph.

                                                  PARTIES

          4.         Plaintiff is, and at all times mentioned herein was, a citizen and resident of

   Ocala, Florida.

          ANSWER: Defendants lack knowledge or sufficient information to admit or deny

   the allegations in this paragraph.

          5.         Plaintiff is, and at all times mentioned herein was, a “person” as defined by

   47 U.S.C.   § 153 (39).




                                                   2
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 3 of 22 PageID 152




          ANSWER: This paragraph contains legal conclusions regarding the applicability

   of this statute to which no answer is required.       To the extent an answer is required,

   Defendant assumes that Plaintiff falls within the definition of a “person.”

          6.       Defendant Intelemedia Communications, Inc. is and at all times mentioned

   herein was, a corporation duly organized under the laws of the State of Delaware with its

   headquarters in Texas.

          ANSWER:        Defendant Intelemedia Communications, Inc., admits that it is a

   corporation and that its corporate headquarters is in Texas and denies the remaining

   allegations of this paragraph, including that it is a proper party to this action. Answers

   herein that are made on behalf of both Defendants are not a concession or admission that

   Defendant Intelemedia Communications, Inc., is a proper party to this action.

          7.       Defendant Intelemedia Communications, Inc. is and at all times mentioned

   herein was, a “person” as defined by 47 U.S.C.   §   153(39).

          ANSWER: This paragraph contains legal conclusions regarding the applicability

   of this statute to which no answer is required.       To the extent an answer is required,

   Defendants admit that Defendant Intelemedia Communications, Inc., falls within the

   definition of a “person.”

          8.      Defendant Intelemedia Premier Leads, LLC. is and at all times mentioned

   herein was, a corporation duly organized under the laws of the State of Delaware with its

   headquarters in Texas.

         ANSWER:         Defendant Intelemedia Premier Leads, LLC (“IPL”), admits the

   allegations in this paragraph.




                                               3
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 4 of 22 PageID 153




          9.       Defendant Intelemedia Premier Leads, LLC. is and at all times mentioned

   herein was, a “person” as defined by 47 U.S.C.   §   153(39).

          ANSWER: This paragraph contains legal conclusions regarding the applicability

   of this statute to which no answer is required.       To the extent an answer is required,

   Defendants admit that Defendant IPL falls within the definition of a “person.”

          10.      Does 1-25 are fictitious names of individuals and businesses alleged for the

   purpose of substituting names of Defendants whose identities will be disclosed in discovery

   and should be made parties to this action.

          ANSWER: Defendants lack knowledge or sufficient information to admit or deny

   the allegations in this paragraph.

                                    FACTUAL ALLEGATIONS
          II.      In approximately early 2017, Plaintiff began receiving telephone calls on

   her cellular telephone number ending in 9464.

          ANSWER: Defendants lack knowledge or sufficient information to admit or deny

   whether Plaintiff generally received calls at that telephone number. Defendant IPL admits

   that it called a number represented to be Plaintiffs number (“Plaintiffs number”) pursuant

   to Plaintiffs request and consent.

          12.     These calls came from Defendants’ telephone number 1-800-228-7676.

         ANSWER: Defendant IPL admits that it called Plaintiffs number from 1-800-228-

   7676 pursuant to Plaintiffs request and consent. To the extent that the allegations in this

   paragraph are directed to Defendant Intelemedia Communications, Inc., it denies that

   allegations in this paragraph.




                                                4
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 5 of 22 PageID 154




          13.     This    telephone   number     is    associated   with   Defendants’   “Dream

   Sweepstakes” (also known as “Moneycall”) promotion, details of which can be found at

   www.drcamswcepstakes.net

         ANSWER:          Defendant IPL admits that the number is assigned to Dream

   Sweepstakes.     IPL     denies    that   Plaintiff     signed    up    for   Moneycall    at

   www.dreamsweepstakes.net. Defendants fiuther deny that Plaintiff signed up to receive

   calls on the Dream Sweepstakes website, and affirmatively state that Plaintiff requested

   and consented to receive calls by calling into Defendant IPL’s number either to answer

   polling questions and/or to sign up for Moneycall. To the extent that the allegations in this

   paragraph are directed to Defendant Intelemedia Communications, Inc., it denies those

   allegations in this paragraph. Defendants deny the remaining allegations of this Paragraph.

          14.     Defendants, as part of their “Dream Sweepstakes” promotion, place

   prerecorded telephone calls to individuals.

         ANSWER: Defendant IPL only places prerecorded calls to individuals who have

   expressly consented to receive such calls.         To the extent that the allegations in this

   paragraph are directed to Defendant Intelemedia Communications, Inc., it denies those

   allegations in this paragraph. Defendants deny the remaining allegations of Paragraph 14.

         15.      These calls also used an automatic telephone dialing system, as evidenced

   by a brief and utmatural pause prior to the prerecorded message beginning to play.

         ANSWER:         This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.




                                                 5
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 6 of 22 PageID 155




          16.      These telephone calls contain several advertisements for various products

   and services, making the calls telemarketing.

          ANSWER:       This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.

          17.     The calls Plaintiff answered contained such prerecorded messages and

   advertisements.

          ANSWER: Defendants lack knowledge or sufficient information to admit or deny

   these allegations in this paragraph.

          18.     Because the calls constitute telemarketing, Defendants were required to

   obtain prior express written consent from the persons to whom they made calls.

         ANSWER:        This paragraph contains legal conclusions to which no answer is

   required. Defendants affirmatively state that Plaintiff expressly consented to receive calls

   regarding Moneycall. To the extent any fin-ther answer is required, Defendants deny the

   allegations in this paragraph.

          19.     “Prior express written consent” is specifically defined by statute as:

                         [Am agreement, in writing, bearing the signature of

                  the person called that clearly authorizes the seller to deliver

                  or cause to be delivered to the person called advertisements

                  or telemarketing messages using an automatic telephone

                  dialing system or an artificial or prerecorded voice, and the




                                                6
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 7 of 22 PageID 156




                  telephone number to which the signatory authorizes such

                  advertisements or telemarketing messages to be delivered.

          ANSWER:       This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.

         20.      Indeed, a review of the “Dream Sweepstakes” website shows that

   Defendants did not obtain such consent.

         ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

   calls by calling into Defendant IPL’s number either to answer polling questions and/or to

   sign up for Moneycall and deny the remaining allegations of this paragraph.

         21.      On the main page, there are links to “Home”, “How To Play”, and

   “Support”.

         ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

   calls by calling into Defendant IPL’s number to sign up for Moneycall. Defendants admit

   that there are links to “Home,” “How to Play” and “Support” but deny that those are the

   only links on the website.

         22.      On the “Home” page, it states “Subscribe now by calling l_800_228_7676.

         ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website. affirmatively state that Plaintiff requested and consented to receive




                                               7
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 8 of 22 PageID 157




   calls by calling into Defendant IPL’s number to sign up for Moneycall and admit the

   remaining allegations of this paragraph.

            23.     There are no written disclosures authorizing Defendants to deliver or cause

   to be delivered advertisements or telemarketing messages using an artificial or prerecorded

   voice.

            ANSWER: Defendants deny the allegations in this paragraph.

            24.     No such disclosures are read to the caller (although this would not be

   sufficient written consent regardless).

            ANSWER:      This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.

            25.     On the “How to Play” page there are instructions on how to subscribe (but

   none on how to opt out). There are no written disclosures authorizing Defendants to deliver

   or cause to be delivered advertisements or telemarketing messages using an artificial or

   prerecorded voice.

            ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

   calls by calling into Defendant IPL’s number to sign up for Moneycall and deny the

   remaining allegations of this paragraph.

            26.    On the Support Page, there is a contact form.        There are no written

   disclosures authorizing Defendants to deliver or cause to be delivered advertisements or

   telemarketing messages using an artificial or prerecorded voice.




                                                 8
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 9 of 22 PageID 158




            ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

   calls by calling into Defendant IPL’s number to sign up for Moneycall and deny the

   remaining allegations of this paragraph.

            27.     On the Support Page, however, there is a link to “Official Rules.” This is

   the only link to the Official Rules on the site.

            ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

   calls by calling into Defendant IPL’s number to sign up for Moneycall, admits that there is

   a link to “Official Rules” and admit the remaining allegations of this paragraph.

            28.     The Official Rules page discloses that “by clicking the SUBSCRIBE button,

   I hereby consent to receive     ...   pre-recorded telemarketing calls from or on behalf of

   Intelemedia Premier Leads, LLC at the telephone number provided above[.]”

            ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

   calls by calling into Defendant IPL’s number to sign up for Moneycall and deny the

   remaining allegations of this paragraph as it is not a complete quotation from the Official

   Rules.

            29.    There is no “subscribe” button to click, nor is the telephone number

   provided anywhere on the site.

            ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive




                                                  9
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 10 of 22 PageID 159




    calls by calling into Defendant TPL’s number to sign up for Moneycall and deny the

    remaining allegations of this paragraph.

           30.      In the “How to Enter” section, it states that “[b]y confirming your

    subscription over the phone or online at www.drearnswecpstakes.net, you are providing

    your express written consent to receive weekly phone numbers to the phone you use to

    subscribe with [.]“

           ANSWER: Defendants deny that Plaintiff signed up to receive calls on the Dream

    Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

    calls by calling into Defendant IPL’s number to sign up for Moneycall and deny the

    remaining allegations of this paragraph.

          31.      Notwithstanding the facts that burying consent language in the “Official

    Rules” found only on the support page and that simply stating that a telephone call is

    written consent cannot override the statutory definition of “written consent”, the language

   itself is deficient, as it does not disclose the possibility or pre-recorded telemarketing calls.

          ANSWER:         This paragraph contains legal conclusions to which no answer is

   required. Further answering, Defendants deny that Plaintiff signed up to receive calls on

   the Dream Sweepstakes website. affirmatively state that Plaintiff requested and consented

   to receive calls by calling into Defendant IPL’s number to sign up for Moneycall and deny

   the remaining allegations of this paragraph.

          32.      Nevertheless, the language quoted above indicates Defendants’ awareness

   of its obligations under the TCPA, and its intentional disregard of those obligations.




                                                  10
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 11 of 22 PageID 160




            ANSWER:       This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.

            33.     Defendant placed more than 80 such telemarketing calls to Plaintiff.

            ANSWER: Defendants deny that they placed any telemarketing calls to Plaintiff.

            34.     Accordingly, because Defendants failed to obtain prior express written

   consent prior to making its telemarketing calls, Defendants’ telephone calls violate 47

   U.S.C.    § 227(b), and Plaintiffs and class members are entitled to 5500 to SI 500 per call.
            ANSVER: Defendants deny that Plaintiff signed up to receive calls on the Dream

   Sweepstakes website, affirmatively state that Plaintiff requested and consented to receive

   calls by calling into Defendant IPL’s number to sign up for Moneycall and deny the

   remaining a]legations of this paragraph.

            35.     Furthermore, Defendant did not have a written “do not call” policy in place

   prior to making its telemarketing calls.

            ANSWER: Defendants deny that they placed any telemarketing calls to Plaintiff

            36.     Companies making telemarketing calls are required to have such a policy

   prior to making any telemarketing calls, regardless of the equipment used to make the calls,

   pursuant to 47 U.S.C.    § 227(c) and 47 CFR 64.1200(d)(l).
         ANSWER:          This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.




                                                  11
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 12 of 22 PageID 161




           37.     Accordingly, Defendant’s calls separately violate 47 U.S.C.        § 227(c),
    entitling Plaintiff and class members to an additional S500-S 1500 per call.

          ANSWER:        This paragraph contains legal conclusions to which no answer is

    required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.

                                  CLASS ACTION ALLEGATIONS

          38.      Plaintiff brings this action under Fed. R. Civ. P. 23 on behalf of a proposed

   class defined as:

                          Plaintiff and all persons within the United States to

                   whose telephone number Defendants placed a prerecorded

                   telemarketing call or to whose cellular telephone number

                   Defendants placed a call using an automatic telephone

                   dialing system. (“Class”)

          ANSWER: Defendants deny that a class should be certified.

          39.      Excluded from this class are Defendants and any entities in which

   Defendants have a controlling interest: Defendants’ agents and employees: any Judge and

   Magistrate Judge to whom this action is assigned and any member of their staffs and

   immediate families, and any claims for personal injury, wrongful death, and/or emotional

   distress.

          ANSWER:       This paragraph contains legal conclusions to which no answer is

   required. Defendants deny that a class should be certified.




                                                12
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 13 of 22 PageID 162




          40.       The Class members for whose benefit this action is brought are so numerous

    that joinder of all members is impracticable.

          ANSWER: Defendants lack knowledge or sufficient information to admit or deny

    the allegations in this paragraph. Defendants deny that a class should be certified.

          41.       The exact number and identities of the persons who fit within the class are

    ascertainable in that Defendants maintains written and electronically stored data showing:

          a.        The time period(s) during which Defendants placed their calls:

          b.        The telephone numbers to which Defendants placed their calls:

          c.        The content of the calls:

          d.        The equipment and methods for making the calls:

          ANSWER: Defendants deny that a class should be certified and, therefore deny the

   allegations in this paragraph.

          42.       The Class is comprised or hundreds, if not thousands, of individuals

   nationwide.

          ANSWER: Defendants lack knowledge or sufficient information to admit or deny

   the allegations in this paragraph. Defendants deny that a class should be certified.

          43.       There are common questions of law and fact affecting the rights of the Class

   members, including, intet- alia, the following:

          a.        Whether Defendants used an automatic dialing system or prerecorded voice

   in placing its calls;

          b.        Whether Defendants took adequate steps to acquire and/or track consent;

          c.       Whether Defendant had a written do not call policy;




                                                 13
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 14 of 22 PageID 163




           d.      Whether Plaintiff and Class members were damaged thereby, and the extent

    of damages for such violations; and

           e.      Whether Defendants should be enjoined from engaging in such conduct in

    the figure.

           ANSWER: Defendants deny the allegations in this paragraph and deny that a class

    should be certified.

           44.     Plaintiff is a member of the Class in that Defendants made prerecorded

   telemarketing calls made using an automatic telephone dialing system to her cellular

   telephone.

           ANSWER: Defendants deny the allegations in this paragraph and deny that a class

   should be certified.

           45.     The claims of Plaintiff are typical of the Class members in that they arise

   from Defendants’ uniform conduct and are based on the same legal theories of all Class

   members.

           ANSWER: Defendants deny the allegations in this paragraph and deny that a class

   should be certified.

          46.      Plaintiff and all putative Class members have also necessarily suffered

   actual damages in addition to statutory damages, as the calls used Class members’ cellular

   telephone plans, caused a nuisance to Class members, and invaded Class members’

   privacy.

          ANSWER: Defendants deny the allegations in this paragraph and deny that a class

   should be certified.




                                               14
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 15 of 22 PageID 164




           47.      Plaintiff has no interests antagonistic to, or in conflict with, the Class.

           ANSWER: Defendants deny the allegations in this paragraph and deny that a class

    should be certified.

           48.      Plaintiff will thoroughly and adequately protect the interests of the Class,

    having retained qualified and competent legal counsel to represent himself and the Class.

           ANSWER: Defendants deny the allegations in this paragraph and deny that a class

    should be certified.

           49.     Defendants have acted and refused to act on grounds generally applicable

   to the Class, thereby making injunctive and declaratory relief appropriate for the Class as

    a whole.

          ANSWER: Defendants deny the allegations in this paragraph and deny that a class

    should be certified.

          50.      The prosecution of separate actions by individual class members would

   create a risk of inconsistent or varying adjudications.

          ANSWER: Defendants deny the allegations in this paragraph and deny that a class

   should be certified.

          51.      A class action is superior to other available methods for the fair and efficient

   adjudication of the controversy since. jitter alia, the damages suffered by each class

   member make individual actions uneconomical.

          ANSWER: Defendants deny the allegations in this paragraph and deny that a class

   should be certified.




                                                  15
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 16 of 22 PageID 165




           52.     Common questions will predominate, and there will be no unusual

    manageability issues.

          ANSWER: Defendants deny the allegations in this paragraph and deny that a class

    should be certified.

                                       FIRST CAUSE OF ACTION
                                     Violation of 47 U.S.C. § 227
                                   (On Behalf of Plaintiff and the Class)

          53.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

          ANSWER: Defendants incorporate their answers to Paragraphs 1-52 as though

   fully set forth herein.

          54.      Defendants placed prerecorded and autodialed telemarketing telephone

   calls to the telephone numbers belonging to Plaintiff and the other members of the Class.

          ANSWER:            Defendants deny that a class should be certified and, therefore

   Defendants deny the allegations in this paragraph.

          55.      These calls were made in the absence of prior express written consent from

   Plaintiff and Class members.

          ANSWER: Defendants deny the allegations in this paragraph.

          56.      Defendants have therefore violated 47 U.S.C.     §   227(b).

          ANSWER:          This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.




                                                 16
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 17 of 22 PageID 166




          57.      As a result of Defendants’ unlawffil conduct, Plaintiff and the members of

    the putative Class are each entitled to, ijiter aim, a minimum of 5500 in damages for each

    such violation under 47 U.S.C.     § 227(b)(3)(B).
          ANSWER:            This paragraph contains legal conclusions to which no answer is

    required. To the extent an answer is required, Defendants deny the allegations in this

    paragraph.

          58.      Should the Court determine that Defendants’ conduct was willful and/or

    knowing, Plaintiff and each member of the Class are entitled to treble damages in the

    amount ofSl,500 per call, pursuant to 47 U.S.C.      § 227(b)(3).
          ANSWER:        This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.


                                      SECOND CAUSE OF ACTION
                              Violations of the TCPA 47 U.S.C. § 227(c)
                               (On behalf of Plaintiff and the C Class)

          59.      Plaintiff and the proposed Class incorporate the foregoing allegations as if

   fully set forth herein.

           ANSWER: Defendants incorporate their answers to the foregoing allegations as

   though fully set forth herein.

          60.      Defendant placed numerous calls for telemarketing purposes to Plaintiff and

   Class Members’ telephone numbers.

           ANSWER: Defendants deny that they placed any telemarketing calls to Plaintiff.




                                                  17
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 18 of 22 PageID 167




          61.        Defendant did so despite not having a written policy pertaining to “do not

   call” requests.

             ANSWER: Defendants deny that they placed any telemarketing calls to Plaintiff.

          62.        Plaintiff and Class Members each received two or more calls in a 12-month

   period.

             ANSWER: Defendants lack knowledge or sufficient information to admit or deny

   the allegations in this paragraph as to who received calls and from whom.

          63.        Plaintiff and Class Members are entitled to an award of S500 in statutory

   damages telephone call pursuant to 47 U.S.C.        §   227(c)(5).

             ANSWER:       This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.

          64.        Plaintiff and class members are entitled to an award of treble damages in an

   amount up to $1,500 telephone call, pursuant to 47 U.S.C.            §   227(c)(5).

             ANSWER:       This paragraph contains legal conclusions to which no answer is

   required. To the extent an answer is required, Defendants deny the allegations in this

   paragraph.


                                         PRAYER FOR RELIEF

          WHEREFORE, Defendants deny that Plaintiff, or any member of the putative class,

   is entitled to the relief requested in the Complaint.




                                                  18
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 19 of 22 PageID 168




                                      AFFIRMATIVE DEFENSES

          Without assuming the burden of proof on any matters that would otherwise rest with

    Plaintiff, and expressly denying any and all wrongdoing, Defendant alleges the following

    affirmative defenses.

                                  FIRST AFFIRMATIVE DEFENSE

          Plaintiffs Class Action Complaint (the “Complaint”) fails to state facts sufficient to

    state a claim upon which relief can be granted.

                                 SECOND AFFIRMATIVE DEFENSE

          If any autodialed or pre-recorded calls were made to Plaintiffs number or the

   numbers of purported class members, the recipients had previously requested and

   consented to those calls and/or had provided their wireless numbers as the numbers at

   which they were to be contacted.

                                 THIRD AFFIRMATIVE DEFENSE

          Plaintiffs claims and the claims of others alleged to be members of the purported

   class are barred in whole or in part under the doctrines of estoppel and waiver because

   Plaintiff and others alleged to be members of the purported class consented to, initiated,

   ratified, or acquiesced in all of the alleged acts or omissions alleged in the Complaint and/or

   failed to mitigate damages.

                                 FOURTH AFFIRMATIVE DEFENSE

          Plaintiffs claims and the claims of others alleged to be members of the purported

   class are barred because the alleged calls were not telemarketing calls and Defendants at

   all times complied in good faith with all applicable statutes and regulations.




                                                 19
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 20 of 22 PageID 169




                                 FIFTH AFFIRMATIVE DEFENSE

                To the extent that Plaintiff seeks to bring this action on behalf of a class, this

    action cannot be maintained as a class action because, inter a/ia, Plaintiff does not and

    cannot satisfy the requirements of Ruk 23 of the Federal Rules of Civil Procedure.

                                 SIXTH AFFIRMATIVE DEFENSE

                 Plaintiff has not suffered any injury, loss or damage as a result of any acts

    alleged in the Complaint.

                                SEVENTH AFFIRMATIVE DEFENSE

                To the extent that the Complaint seeks putative class damages, the

    aggregated statutory damages, if any, are grossly excessive and disproportionate

   especially in light of the absence of any injury or harm to Plaintiff and the putative Class

   members, and therefore any award of statutory damages to Plaintiff or putative class

   members may constitute excessive fines and in violation of the Defendants’ due process

   rights under the U.S. Constitution.

                                EIGHTH AFFIRMATIVE DEFENSE

                Defendants specifically gives notice that they intend to rely upon such other

   defenses as may become available by law, or pursuant to statute, or as a result of any

   further discovery proceedings in this case, and hereby reserve the right to amend its

   Answer and assert such defenses.

                WHEREFORE, Defendants prays for judgment as follows:

          I)             That Plaintiffs request for class certification be denied;




                                                 20
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 21 of 22 PageID 170




           2)              That Plaintiff and the purported class take nothing by reason of her

    Complaint and any and all claims for damages of any sort or nature be denied;

           3)             That judgment be entered in Defendants’ favor;

           4)             That Defendants be awarded their costs and attorneys’ fees incurred

    in defending this action; and

           5)               For such other and thither relief the Court deems necessary in the

    interest ofjustice.

           Dated: March 6,2018
                                                           Respectfully submitted,




                                                                 B. Singer
                                                          Florida Bar No. 72823
                                                          Matthew Newton
                                                          Florida Bar No. 111679
                                                          JOHNSON, POPE, BOKOR,
                                                          RUPPEL & BURNS, LLP
                                                          401 E. Jackson St., Ste. 3100
                                                          Tampa, FL 33602
                                                          Tel: (813) 225-2500
                                                          Fax: (813) 223-7118
                                                          davidsjpfirm.com
                                                          mattnjpfirm. com
                                                          Attorneys for Defendants

                                                          Debra Bernard
                                                          Illinois Bar No. 619217
                                                          Perkins Coie LLP Chicago
                                                                             -




                                                          131 5. Dearborn Street
                                                          Suite 1700
                                                          Chicago, IL 60603-5559
                                                          Tel.: 312-324-8559
                                                          Fax: 312-324-9559
                                                          dbemard@perkinscoie.com
                                                          Attorney Pro Hac Vice



                                                21
Case 5:17-cv-00433-PGB-PRL Document 37 Filed 03/06/18 Page 22 of 22 PageID 171




                                 CERTIFICATE OF SERVICE

                 This is to certifv that a true and correct copy of the foregoing instrument,
    ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S
    FIRST AMENDED CLASS ACTION COMPLAINT, has been served on the following
    counsel of record this March 6,2018 by e-mail and ECF filing notifications.


    William “Billy” Peerce Howard, Esquire            Jeremy M. Glapion
    THE CONSUMER PROTECTION FIRM, PLLC                THE GLAPION LAW FIRM, LLC
    210-A South MacDill Avenue                        1704 Maxwell Drive
    Tampa, FL 33609                                   Wall, New Jersey 07719
    Telephone: (813) 500-1500 x201                    Tel: 732.455.9737
    Facsimile: (813) 435-2369                         Fax: 732.709.5150
    BiIIv(dThcConsumcrProtcclionFirin.coin            jmwüglapionlaw.com
                                                      Attoz-neysJör Plaintiff




                                               22
